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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION

 ALLAN A. KASSENOFF,
 individually and as guardian of his
 minor children A.K., C.K., and J.K.,
 and CONSTANTINE GUS
 DIMOPOULOS,

        Plaintiffs,

 v.                                            Case No. 3:23cv24085-TKW-ZCB

 ROBERT HARVEY,

      Defendant.
_________________________________/

                                      ORDER

       This case is before the Court based on the motions for leave to appear pro hac

vice filed by attorneys Allan A. Kassenoff (Doc. 3) and Constantine G. Dimopoulos

(Doc. 4). The Court finds based on the motions and supporting documentation that

Messrs. Kassenoff and Dimopoulos meet the requirements of Local Rule 11.1 to

appear pro hac vice. The Court also notes that the applicable fees have been

paid. Accordingly, it is

       ORDERED that the motions are GRANTED, and attorneys Allan A.

Kassenoff and Constantine G. Dimopoulos are authorized to appear pro hac vice for

Plaintiffs.
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DONE and ORDERED this 6th day of September, 2023.




                             _________________________________
                             T. KENT WETHERELL, II
                             UNITED STATES DISTRICT JUDGE




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